Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 1 of 13 PageID 18




                              EXHIBIT A
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 2 of 13 PageID 19

                                                                                           US0093 00723B2


 (12) United States Patent                                               (10) Patent No.:                   US 9,300,723 B2
        Rothschild                                                       (45) Date of Patent:                      *Mar. 29, 2016
 (54)   ENABLING SOCIAL INTERACTIVE                                  (56)                      References Cited
        WIRELESS COMMUNICATIONS
                                                                                      U.S. PATENT DOCUMENTS
 (75) Inventor: Leigh M. Rothschild, Sunny Isles                            4,672,572 A         6/1987 Alsberg
                Beach, FL (US)                                              5,555.407 A         9, 1996 Cloutier et al.
                                                                            5,694,546 A        12/1997 Reisman
 (73) Assignee: Display Technologies, LLC, Plano, TX                        5,805.442 A         9, 1998 Crater et al.
                (US)                                                        5,857,187 A        1/1999 Uenoyama et al.
                                                                            5,892,825 A        4/1999 Mages et al.
 (*) Notice: Subject to any disclaimer, the term of this                    5,915,093 A         6/1999 Berlin et al.
                patent is extended or adjusted under 35                                           (Continued)
                U.S.C. 154(b) by 398 days.                                             OTHER PUBLICATIONS
                This patent is Subject to a terminal dis             “Bluetooth Demystified”. Nathan J. Muller, 2000, chapter 8, pp.
                    claimer.
                                                                     290-304.
 (21) Appl. No.: 13/494,097                                          Takahashi. D., “A New Medium. The Bridge Solution; CD-Roms
                                                                     help give the illusion that the PC has No Limits...” The Wall Street
                                                                     Journal, Dow Jones & Co., Mar. 20, 1997.
 (22) Filed:        Jun. 12, 2012                                    Ladd, E., “The Document Tags.” Oct. 23, 2006, retrieved from the
                                                                     Internet:    <http://www.sunsite.serc.iisc.ernet.in/virlib.html/plati
 (65)                  Prior Publication Data                        num? ch4.htm>.
        US 2012/O254360-A1          Oct. 4, 2012                                                  (Continued)
              Related U.S. Application Data                          Primary Examiner — Jungwon Chang
 (63) Continuation-in-part of application No. 11/999,570,            (74) Attorney, Agent, or Firm — Greer, Burns & Crain, Ltd.
      filed on Dec. 7, 2007, now Pat. No. 8,671,195.
                                                                     (57)                        ABSTRACT
 (51)   Int. C.                                                      A transfer system from transferring a media file includes a
        G06F 15/16              (2006.01)                            vehicle media system and a wireless mobile device. The
        H04L 29/08              (2006.01)                            vehicle media system includes a wireless receiver, a security
        H04L 29/06              (2006.01)                            measure, and a processor configured to wirelessly detect the
        HO47 (2/08              (2009.01)                            wireless mobile device, and receive, using the wireless
 (52)   U.S. C.                                                      receiver, the media file from the wireless mobile device. The
        CPC ............ H04L 67/06 (2013.01); H04L 63/0209          wireless mobile device includes a wireless transmitter, and a
               (2013.01); H04L 63/10 (2013.01); H04L 63/20           processor configured to wirelessly detect the vehicle media
                           (2013.01); H04 W 12/08 (2013.01)          system, and transmit, using the wireless receiver, the media
 (58)   Field of Classification Search                               file from the wireless mobile device. At least one of the
        CPC ..... H04L 63/00, H04L 63/0209; H04L 63/10;              wireless mobile device and vehicle media system is config
                  H04L 67/06; H04L 65/1069; H04L 67/14;              ured to create a wireless connection between the vehicle
                                H04L 63/20: H04W 12/08               media system and the wireless mobile device, and the wire
        USPC ........ 701/33; 370/338,395.52; 709/223, 203,          less connection does not include the security measure.
                                    709/225, 229, 217:455/420
        See application file for complete search history.                             50 Claims, 4 Drawing Sheets

                                                                                          22




                                       SO




                                            20                  26
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 3 of 13 PageID 20


                                                              US 9,300,723 B2
                                                                         Page 2

 (56)                  References Cited                                                          OTHER PUBLICATIONS
                 U.S. PATENT DOCUMENTS                                        Creative Wonders/Electronic Arts. “ABC News Links—from CD
                                                                              ROM Access.” Aug. 17, 2007, retrieved from the Internet: <http://
        5,922,045 A     7, 1999 Hanson                                        www.cdaccess.com/html/pc/abcnews.htm>.
        5.937,158 A     8, 1999 Uranaka
        5.996,000 A    11, 1999 Shuster                                       Krushenisky, C., “Reference Resources That Make the Best Reports
        6,101,534 A     8, 2000 Rothschild                                    Even Better.” Smart Computing, Aug. 17, 2007, retrieved from the
        6,145,088 A    11, 2000 Stevens                                       Internet: <http://www.smartcomputing.com.>.
        6,594,692 B1    T/2003 Reisman                                        Iqbal, M.S., et al., “A Simplified and an Efficient Packet Level
        7,631,084 B2   12, 2009 Thomas et al.                                 Internet Access Control Scheme.' Ethertech Conslit. Ltd., UK, 1992.
        7.711.783 B1    5, 2010 Violleau et al.                               Heylighen, F. “WorldWideWeb: a distributed hypermedia paradigm
        6,101,534 C1    6, 2011 Rothschild                                    for global networking.” SHARE Europe Spring Conference, pp. 355
  2004/O128375 A1       T/2004 Rockwell                                       368, Brussels, Belgium, Apr. 1994.
  2004/O133631          T/2004 Hagen et al. .................. TO9,203        Citrix Winview for Networks Installation Guide, Citrix Systems, Inc.,
  2005/0226,254        10, 2005 Vimpari ...                    370,395.52     1990. Version WV2.3.em.
  2007/OO94366          4, 2007 Ayoub .......................... 709,223      Reisman, R.R., “Raising a Bumper Crop of CD-ROM Hybrids.”
  2008/O120369          5/2008 Gustavsson                                     Mass HighTech. Mass Tech Times, Inc., Boston, MA, Sep. 2, 1996,
  2008/022O760          9, 2008 Ullah ............................ 455,420    vol. 14, No. 29, p. 17.
  2009, OO46677         2, 2009 Toledano et al. ............. 370,338         Britton, M. et al., “Discover Desktop Conferencing with Netmeeting
  2009. O150554         6, 2009 Rothschild                                    2.0, IDG Books Worldwide, Inc., 1997.
  2010, OO63670         3, 2010 Brzezinski et al. ............. TO1/33
  2011/0202993          8, 2011 Rothschild                                    * cited by examiner
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 4 of 13 PageID 21


 U.S. Patent         Mar. 29, 2016   Sheet 1 of 4         US 9,300,723 B2




                                                                   S




                                                                   s
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 5 of 13 PageID 22


 U.S. Patent         Mar. 29, 2016   Sheet 2 of 4         US 9,300,723 B2




              S.
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 6 of 13 PageID 23


 U.S. Patent         Mar. 29, 2016   Sheet 3 of 4         US 9,300,723 B2




              Se
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 7 of 13 PageID 24


 U.S. Patent         Mar. 29, 2016        Sheet 4 of 4         US 9,300,723 B2



          100
                 N
                                      Media Node
                                                             102
                                 Disposed Within
                                  Wireless Range


                                     Media Terminal
                                                             104
                                        Detects
                                      Media Node



                                 Media Terminal
                                    Initiates                106
                               Communication Link
                                With Media Node



                                    Establish                108
                               Communication Link




                                     Transmit Digital
                                       Media File              110
                                        Between
                                     Media Node and
                                     Media Terminal



                                                         FIGURE 4
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 8 of 13 PageID 25


                                                      US 9,300,723 B2
                               1.                                                                   2
           ENABLING SOCIAL INTERACTIVE                               structured to display, save, edit, manipulate, and/or transfer
            WIRELESS COMMUNICATIONS                                  the one or more digital media files.
                                                                            BRIEF DESCRIPTION OF THE SEVERAL
            CROSS-REFERENCE TO RELATED                                           VIEWS OF THE DRAWINGS
                   APPLICATIONS
                                                                     For a more complete understanding of the nature of the
   This application is a Continuation-in-Part of U.S. applica     present disclosure, reference should be had to the following
 tion Ser. No. 11/999,570, filed on Dec. 7, 2007, which is        detailed description taken in connection with the accompa
                                                               10 nying drawings in which:
 incorporated herein by reference in its entirety.
                                                                     FIG. 1 is a schematic representation of one embodiment of
                       BACKGROUND
                                                                  the digital media communication protocol in accordance with
                                                                  the present specification.
                                                                     FIG. 2 is a schematic representation of another embodi
    1. Field                                                   15 ment of the digital media communication protocol in accor

    The present disclosure is generally related to a digital dance       with the present specification.
                                                                     FIG.3  is a schematic representation of yet another embodi
 media communication protocol structured to facilitate trans ment of the        digital media communication protocol in accor
 ferring and/or transmitting one or more digital media files to dance with the     present specification.
 and/or from a media terminal and a media node via at least
                                                                     FIG. 4 is a partial flow chart of at least one illustrative
 one interactive computer network.                                implementation of the digital media communication protocol
    2. Description of the Related Art                             of the present specification. FIG. 1 is a schematic represen
    As technology continues to develop and play a significant     tation of at least one embodiment of the system for enabling
 role in today's Society, a vast majority of portable devices, 25 Social interactive wireless communication as disclosed in
 including mobile telephones, cellular telephones, portable accordance          with the present disclosure.
                                                                     Like reference numerals refer to like parts throughout the
 MP3 players, handheld or portable game consoles, Personal several         views of the drawings.
 Digital Assistants ("PDA), etc. are equipped with memory
 devices, such as hard drives and/or removable flash or                              DETAILED DESCRIPTION
 memory cards, which are capable of holding or storing large 30
 amounts of data and or digital media files including digital          As shown in the accompanying drawings, the present
 photographs, Videos, audio/music files, etc. Accordingly, specification relates to a digital media communication proto
 with the advent of such devices having these capabilities, col, generally indicated as 10. As illustrated in FIGS. 1
 individuals or users are more inclined to carry around their through 3, at least one embodiment of the present protocol or
 media files, such as, for example, digital photo albums, family 35 system 10 includes one or more media terminals 20 and one or
 Videos, and/or favorite music tracks.                              more media nodes 30. In particular, the media terminal(s) 20
    The drawback to the above noted portable media devices, of attoleast       one embodiment is disposed in an accessible rela
 however, is that many of the devices include relatively small tion        at least one interactive computer network 40 and may
 display screens, some of which display poor quality photos 40 include,      for example, a computer processing device 22, an
                                                                    input device 24, and a display device 26. Accordingly, as
 and/or videos. In addition, the speakers associated with the shown in FIG. 1, the media terminal(s) 20 of the various
 corresponding portable device(s) are typically rather Small embodiments described herein may include a computer, how
 and produce minimal or poor Sound therefrom.                       ever, any device structured to facilitate the practice of the
    In addition, the individuals or users of the media devices      present system in the intended fashion may be utilized,
 may desire to share the digital media files and/or transfer, 45 including but in no way limited to a desktop computer, laptop
 display, or play the files on a computer or other media device or notebook computer, PDA, Video game console, mobile
 equipped with a larger or better quality Screen, or having telephone, media system of a vehicle (e.g., an automobile),
 higher quality speakers than that disposed on the portable etc.
 device(s). In addition, some media devices may have better 50 present The media node(s) 30 of at least one embodiment of the
 editing software, or have access to the World Wide Web to as a cellular    system 10 generally includes a portable device Such
 further distribute the digital media files.                                     or mobile telephone, PDA, portable mp3 player,
                                                                    laptop or notebook computer, or any other digital media
    Accordingly, it would be advantageous if the digital media device structured to facilitate the practice of the present sys
 communication protocol of the present specification is struc tem in the intended manner. In at least one embodiment,
 tured to facilitate transferring or transmitting one or more 55 however, the media node 30 is not limited to a portable device,
 digital media files between two or more media devices. Such and may include a more stationary device or structure such as,
 as a media terminal and/or a media node, via at least one          for example, a desktop computer.
 interactive computer network. In particular, it would be ben          Furthermore, the various embodiments of the present
 eficial if the digital media communication protocol includes a specification include at least one interactive computer net
 communication link structured to bypass at least one or more 60 work 40, 40'. In particular, as illustrated in FIG. 1, at least one
 security measures, such as a password and/or firewall, embodiment includes one or more home, office, private, lim
 employed by the interactive computer network, the corre ited, or closed interactive computer networks 40 at least par
 sponding networking devices, and/or the particular media tially defined by one or more networking devices 42, includ
 devices themselves.                                                ing but not limited to a router, access point, and/or Switch.
    In addition, once the communication link is established it 65 Accordingly, the interactive computer network 40 may
 would be particularly beneficial if the various media devices, include a Local Area Network (“LAN”), Wide Area Network
 including the media terminal(s) and/or media node(s), are (“WAN'), Private Area Network (“PAN), peer-to-peer net
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 9 of 13 PageID 26


                                                      US 9,300,723 B2
                           3                                                                           4
 work, near field communication (NFC), Bluetooth net                    50, the media node(s) 30 may be powered on or otherwise
 work, etc. As best shown in FIGS. 2 and 3, it is also contem           have wireless or Bluetooth capabilities activated.
 plated that, especially wherein the interactive computer                  Furthermore, the media terminal(s) 20 disposed in acces
 network 40 is a Bluetooth or peer-to-peer network, the media           sible relation to the interactive computer network 40 are
 terminal(s) 20 and/or the media node(s)30 can function as the          structured to detect the media node(s)30 as the media node(s)
 networking device(s) 42, at least to the extent of defining the        30 is disposed within the confines of or is otherwise detect
 interactive computer network 40. Additionally, and referring           able within the wireless range 50. Particularly, in at least one
 again to FIG. 1, at least one interactive computer network 40'         embodiment, each media node 30 includes a node identifier
 of at least one embodiment includes access to the WorldWide          structured to distinguish one media node 30 within the wire
 Web, for example via the Internet. Such access to the World
                                                                   10 less range 50 from another. For example, the node identifier
 WideWeb 40" may be facilitated in any manner, including but          may include a device name, model/serial number, Media
 not limited to, via a cable or DSL modem 44, as shown in FIG.        Access Control (“MAC) address, or Internet Protocol (“IP')
 1, or via one or more satellites 46 and/or one or more towers
                                                                      address. Accordingly, as the media node 30 enters or is oth
                                                                      erwise disposed within the wireless range 50, the media ter
 or base stations 48, as illustrated in FIG. 2.                    15 minal 20 is structured to detect and/or identify the media node
    In addition, and still referring to FIGS. 1 through 3, at least 30, for example, by the corresponding node identifier.
 one embodiment of the present system 10 includes a wireless             In addition, at least one embodiment of the present system
 range 50 structured to permit access to the one or more inter 10 includes a terminal program disposed in an accessible
 active computer networks 40. In particular, as shown in FIG. relation to the media terminal 20. In particular, the terminal
 1, the wireless range 50 may be at least partially defined by program of at least one embodiment is a computer Software
 networking devices 42. Such as a wireless router, access point, program structured to facilitate the practice of the present
 switch, etc. In yet another embodiment, as shown in FIGS. 2 system 10 in the intended fashion, at least from the media
 and 3, however, the wireless range 50 may be partially defined terminal 20 side of the system 10. The terminal program, of at
 by the media terminal 20 and/or media node 30, such as, for least one embodiment, may be disposed on the media termi
 example, wherein the interactive computer network 40 25 nal 20, Such as, for example, on a hard drive, or other memory
 includes a Bluetooth or peer-to-peer network.                        device associated with the media terminal 20. In yet another
    In addition, and as an attempt to minimize or eliminate embodiment, however, the terminal program may be acces
 unauthorized access or security breaches to the interactive sible via the at least one interactive network 40, 40', such as,
 computer network 40, the interactive computer network 40 for example, via the World Wide Web. For example, in the
 and/or the various networking device(s) 42 may include one 30 embodiment wherein the terminal program is accessible via
 or more networking device security measures 41 including a the World WideWeb, a user may direct a web browser dis
 firewall, and/or passwords/keys such as, for example, Wi-Fi posed in the media terminal 20 to a particular web site, which
 Protected Access (“WPA) keys, and/or Wireless Application then runs or executes the terminal program and/or downloads
 Protocol (“WAP) keys. Accordingly, only authorized indi the terminal program to the media terminal 20.
 viduals or computers may generally have access to the inter 35 Either way, the terminal program may include at least one
 active computer network 40 through the firewall, via use of Script which is structured to consistently or periodically
 the password(s)/key(s), and/or any other networking device monitor the wireless range 50 associated with the interactive
 security measure(s) 41.                                              computer network 40 for the existence of media nodes 30.
    The present system 10 further includes at least one digital When a media node 30 is disposed within the wireless range
 media file 60 initially disposed or saved on at least one of the 40 50, the terminal program may be structured or configured to
 media terminal(s) 20 or media node(s) 30. Specifically, automatically alert a user at the media terminal 20 of the
 the digital media file(s) 60 may be disposed on the media existence or detection of the media node 20. In particular, the
 terminal(s) 20, the media node(s) 30, or both. However, it terminal program may deploy a pop-up display, play an audio
 should be apparent that for purposes of the present system 10, alarm or tone, etc. On the other hand, the terminal program
 the digital media file 60 need not necessarily be created or 45 may be structured or configured to alert or notify the user of
 originated on either the media terminal(s) 20 or the media any detected media nodes 30 only upon the user's specific
 node(s) 30. In particular, the digital media file(s) 60 may instructions. For example, the media terminal 20, and in par
 include virtually any electronic file or data Such as a digital ticular the terminal program thereof, may be structured to list
 photograph, video, audio, animation, text, or any other elec or display the media nodes 30 currently disposed within the
 tronic document or object.                                        50 wireless range 50 upon the user clicking on or otherwise
    Moreover, in at least one embodiment of the present system manipulating a corresponding option of the terminal pro
 10, the media node(s) 30 is disposable within the wireless gram.
 range 50, wherein the media node 30 is detectable by the                At least one embodiment of the present system 10 further
 media terminal 20. In particular, as stated above, in at least includes a communication link 70 structured to dispose the
 one embodiment, the media node 30 includes a portable 55 media terminal(s) 20 and the media node(s) 30 in a commu
 device. Such as a mobile or cellular phone, PDA, laptop, etc. nicative relation with one another via the interactive computer
 Accordingly, the media node 30 may be disposed within, i.e., network 40. In particular, the communication link 70 of the
 enter, the confines of the wireless range 50, for example, various embodiments of the present system 10 is created
 whenauser or individual carries the media node 30 therein. In        and/or requested by the media terminal 20. As stated above,
 addition, for purposes of the present system 10, the media 60 the media terminal 20 is structured to detect the media node(s)
 node 30 may be disposed within the wireless range 50 when 30 disposed within the wireless range 50. As also stated
 the device is powered on, activated, or otherwise configured above, the media node 30 may, but need not, however, be
 into a discoverable and/or detectable state while simulta            configured to have access to the interactive computer network
 neously being physically disposed within the confines of the 40. For example, the interactive computer network 40 and/or
 wireless range 50, and as such, the media node 30 need not 65 the corresponding networking device(s) 42 may be equipped
 necessarily be portable or easily movable. For instance, while with one or more security measures 41, including a WEP key
 physically disposed within the confines of the wireless range or other password. The media node 30 may, but need not have
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 10 of 13 PageID 27


                                                     US 9,300,723 B2
                             5                                                                        6
 access to the WEP key or other security measure 41 so as to        selectively transmitted therebetween. In particular, if the digi
 access the corresponding interactive computer network 40.          tal media file 60 is initially disposed on the media node 30, the
 Even so, the media terminal 20 is structured to create and/or      media node 30 and the media terminal 20 may cooperatively
 initiate a communication link 70 with the one or more              communicate via the communication link 70 such that the
 detected media nodes 30 disposed within the wireless range 5 digital media file 60 may be transmitted from the media node
 50, for example, by sending and/or transmitting a request to 30 to the media terminal 20. In addition, the converse is also
 the corresponding media node(s) 30 to establish a communi true. Particularly, if the digital media file 60 is disposed on the
 cation link 70 therewith via the interactive computer network media terminal 20, the media node 30 and the media terminal
 40. As illustrated in FIG.1, the media terminal 20 need not be  20 may cooperatively communicate via the communication
 disposed within the wireless range 50 in order to detect the 10 link 70 such that the digital media file 60 may be transmitted
 media nodes 30 or to create and/or initiate a communication        from the media terminal 20 to the media node 30. Further
 link 70 therewith. In at least one embodiment of the present more, in at least one embodiment of the present system 10, the
 system 10, the media terminal 20 does, however, need to be device on which the digital media file 60 is initially disposed,
 disposed in an accessible relation with the interactive com such as the media node 30 or the media terminal 20, is struc
 puter network 40, for example, wirelessly or via a direct cable 15 tured to “push the digital media file 60 to the receiving
 43.                                                                device 20, 30 via the communication link 70. Similarly, in at
    More in particular, the communication link 70 of at least least one embodiment, once the communication link 70 is
 one embodiment of the present specification is structured to established, the receiving device 20, 30 is structured to “pull
 bypass one or more media terminal security measures 21, the digital media file 60 from the transmitting device 30, 20
 media node security measures 31, and/or networking device via the communication link 70.
 security measures 41. Moreover, the security measures 21,             For illustrative purposes only, the communication link 70,
 31, 41 may includes passwords, keys, firewalls, etc. struc the terminal program, and/or the node program may be struc
 tured to minimize or eliminate unauthorized access to the          tured to include a selective set of parameters which define or
 corresponding media terminal 20, media node 30, networking limit the permissions associated with the communication link
 device(s) 42, and/or interactive computer network 40, 40'. 25 70. In particular, in at least one embodiment, the selective set
 Referring again to FIG. 1, in the embodiment wherein the of parameters may include the option of transmitting the
 interactive computer network 40 and the wireless range 50 are digital media file 60 via the communication link 70 merely for
 at least partially defined by networking device(s) 42. Such as purposes of displaying and/or playing the digital media file
 a router, access point, or Switch, once established, the com 60, saving the digital media file 60, manipulating or otherwise
 munication link 70 is structured to be disposed between the 30 editing the digital media file 60, etc. In the various embodi
 media terminal 20 and the media node 30, and through the ments of the present system 10, it is contemplated that these
 corresponding networking device(s) 42. Particularly, in at parameters may be selected from either the media terminal 20
 least one implementation of the present system 10, because or the media node 30, at various times. For instance, the
 the media terminal 20 is disposed in an accessible relation to parameters may be selected by the media terminal 20, or a
 the interactive computer network 40, and because the com 35 user in control thereof, when the communication link 70 is
 munication link 70 is created and/or initiated by the media created and/or initiated, or by either the media terminal 20 or
 terminal 20, the communication link 70 can be established          the media node 30 when the communication link 70 is
 regardless of whether the corresponding media node 30 inde accepted or created.
 pendently has access to the interactive computer network 40.          Furthermore, it is contemplated that the protocol 10 of the
 In addition, the initiation of the communication link 70 by the 40 present system includes a plurality of versions of the terminal
 media terminal 20, Such as through a request to establish a program and/or the node program, stated and described
 communication link 70, at least partially allows the commu above. For instance, at least one embodiment includes at least
 nication link 70 to bypass the firewall or other media terminal one limited version of the terminal and/or node programs and
 security measure(s) 21.                                            at least one full version of the programs. It is contemplated
    Moreover, the media terminal 20 of at least one embodi 45 that the limited versions of the terminal and/or node programs
 ment of the present system 10 may be structured or configured are distributed at no cost or at least a lower cost than the
 to automatically create and/or initiate a communication link corresponding full versions, and as such, provide limited
 70 with the detected media nodes 30. However, more practi functionality. Of course, the terminal and/or node programs,
 cally, a user in control of the media terminal 20 may direct the whether the limited and/or full versions, may come pre-in
 media terminal 20 to create and/or initiate the communication 50 stalled with the corresponding media terminal 20 or media
 link 70 with one or more selected media node(s) 30, for node 30.
 example, via the terminal program. Similarly, the media node          Moreover, for illustrative purposes only, FIG. 4 shows one
 30 may be structured or configured to automatically acceptor implementation of the system 10 in accordance with the
 decline creation of the communication link 70 initiated by the present specification, generally indicated as 100. In particu
 media terminal 20. However, in at least one embodiment of 55 lar, and as above, in at least one embodiment, the media node
 the present system 10, the media node(s)30 may be structured     30 may include a portable device, such as for example, a
 or configured for a user in control of the media node 30 to      mobile phone, a cellular telephone, PDA, or mobile com
 selectively accept or decline the creation or establishment of   puter. For purposes of the illustrative implementation of FIG.
 a communication link 70 initiated by the corresponding           4, the interactive computer network 40 includes a wireless
 media terminal 20. As such, in at least one embodiment, the 60 range 50 located in one or more offices or rooms, wherein the
 media node 30 includes one or more node programs struc media terminal 20 is also disposed within one of the offices or
 tured to facilitate the practice of the present system 10 in the rooms in accessible relation to the interactive computer net
 intended fashion, at least from the media node 30 side of the      work 40.
 system 10.                                                     Furthermore, the digital media file 60 of the present illus
   Once the communication link 70 is initiated, accepted, 65 trative implementation of FIG. 4 may be disposed on the
 and/or ultimately established between the media terminal 20 media node 30, whereas the user in control of the media node
 and the media node 30, the digital media file(s) 60 may be 30 desires to display the digital media file 60 on the display
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 11 of 13 PageID 28


                                                         US 9,300,723 B2
                                  7                                                                      8
 device 26 of the media terminal 20. For example, a user of a                 only transferring the at least one digital media file to, and
 wireless mobile device (i.e., an example of a media node 30)                 displaying the at least one digital media file on, the at
 can use the wireless mobile device to control the display of a               least one media terminal.
 digital media file 60 on a display (i.e., an example of display          2. The method of claim 1, wherein the security measure is
 device 26) of a vehicle media system (i.e., an example of a a firewall.
 media terminal 20) within an automobile. The vehicle media               3. The method of claim 1, wherein the transmission of the
 system may be part of a vehicle navigation system. Alterna            media file from the at least one media node to the at least one
 tively, the vehicle media system may include one or more media terminal completely bypasses the security measure.
 displays within the vehicle that are separate from the vehicle           4. The method of claim 1, wherein the at least one media
 navigation system. In another aspect, the vehicle media sys 10 terminal is a navigation system.
 tem includes an audio system (e.g., the radio) of the vehicle.           5. The method of claim 1, wherein the at least one media
    As shown in FIG. 4, the media node 30 may be disposed terminal is an audio system.
 within the wireless range 102. For example, the user in con              6. The system of claim 1, wherein the communication link
 trol of, and/or having possession of the media node 30 may is at least one of a peer-to-peer connection, bluetooth connec
 walk into the office which is disposed within the wireless 15 tion, and a WiFi connection.
 range 50. As stated above, once the media node 30 is disposed            7. The system of claim 1 wherein the at least one digital
 within the wireless range 50, as shown at 104, the media media file is at least one of an image file, video file, gaming
 terminal 20 is structured to detect the media node 20. The            file, and a streaming video file.
 media terminal 20 may then create and/or initiate a commu                8. The system of claim 1, further comprising presenting the
 nication link 70 between the media terminal 20 and the media          at least one digital media file on a display.
 node 30 via the interactive computer network 40, as shown at             9. The system of claim 1, wherein the at least one digital
 106, for instance, by sending a request thereto. The media media file is provided by the at least one media node.
 node 30 may then accept the request by the media terminal 20,            10. The system of claim 1, wherein the at least one digital
 which establishes the communication link 70, as illustrated at        media file is received from a server upon instructions pro
 108 in FIG. 4. Once the communication link 70 is established, 25 vided by the at least one media node.
 the digital media file 60 may be transmitted, i.e., “pushed' or          11. The system of claim 1, wherein the at least one digital
 “pulled, between the media node 30 and the media terminal media file is received from a server upon instructions pro
 20, as shown at 110.                                                  vided by the wireless mobile device.
    More in particular, because the digital media file 60, for            12. A media system configured to receive a media file from
 purposes of the illustrative implementation shown in FIG. 4, 30 a wireless mobile device over communication network, com
 is initially disposed on the media node 30, the digital media prising:
 file 60 may be transmitted, i.e., "pushed” or “pulled', to the           a wireless receiver;
 media terminal 20 from the media node 30 via the commu                   a security measure; and
 nication link 70. In particular, the media terminal 20 may               the media system disposed in an accessible relation to at
 display the digital media file 60, save the digital media file 60, 35        least one interactive computer network that has a wire
 and/or manipulate or edit the digital media file 60. In addition,            less range structured to permit authorized access to said
 the media terminal 20, in at least one embodiment, may be                    at least one interactive computer network,
 structured to transmit the digital media file 60 and/or the              the wireless mobile device within said wireless range,
 edited media file back to the media node 30 via the commu                   wherein said wireless mobile device is detectable by said
 nication link 70.                                                  40        media system,
    What is claimed is:                                                   at least one digital media file initially disposed on the
    1. A media system, comprising:                                           wireless mobile device, said media system being struc
    at least one media terminal disposed in an accessible rela               tured to detect said wireless mobile device disposed
       tion to at least one interactive computer network,                    within said wireless range,
    a wireless range structured to permit authorized access to 45 a communication link structured to dispose said media
       said at least one interactive computer network,                        system and said wireless mobile device in a communi
    at least one media node disposable within said wireless                   cative relation with one another via said at least one
       range, wherein said at least one media node is detectable              interactive computer network,
       by said at least one media terminal,                               said communication link being initiated by said media
    at least one digital media file initially disposed on at least 50         system,
       one of said at least one media terminal or said at least one       said wireless mobile device and media system being struc
       media node, said at least one media terminal being struc              tured to transmit said at least one digital media file
       tured to detect said at least one media node disposed                 therebetween via said communication link, and
       within said wireless range,                                        said communication link is structured to bypass the Secu
    a communication link structured to dispose said at least one 55           rity measure of the media system for a limited permis
       media terminal and said at least one media node in a                   sible use of the communication link by the wireless
       communicative relation with one another via said at least              mobile device for only transferring the at least one digi
       one interactive computer network,                                     tal media file to, and displaying the at least one digital
    said communication link being initiated by said at least one              media file on, the media system.
       media terminal,                                              60    13. The media system of claim 12, wherein the security
   said at least one media node and said at least one media             measure is a firewall.
      terminal being structured to transmit said at least one         14. The media system of claim 12, wherein the transmis
      digital media file therebetween via said communication       sion of the at least one digital media file from the wireless
     link, and                                                     mobile device to the media system completely bypasses the
   said communication link is structured to bypass at least one 65 security measure.
     media terminal security measure for a limited permis             15. The media system of claim 12, wherein the media
      sible use of the communication link by the media node to system is a navigation system.
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 12 of 13 PageID 29


                                                     US 9,300,723 B2
                                 9                                                               10
    16. The media system of claim 12, wherein the media              31. The method of claim 22, wherein the at least one digital
 system is an audio system.                                        media file is received from a server upon instructions pro
    17. The media system of claim 12, wherein the communi          vided by the wireless mobile device.
 cation link is at least one of a peer-to-peer connection, blue      32. A wireless mobile device configured to transmit a
 tooth connection, and a WiFi connection.                          media file to a media system over a communication network
    18. The media system of claim 12 wherein the at least one having a security measure comprising:
 digital media file is at least one of an image file, video file,    the media system disposed in an accessible relation to at
 gaming file, and a streaming video file.                               least one interactive computer network that has a wire
    19. The media system of claim 12, wherein the further 10            less range structured to permit authorized access to said
 media system is configured to present the at least one digital         at least one interactive computer network,
 media file on a display.                                            the wireless mobile device within said wireless range,
    20. The media system of claim 12, wherein the at least one          wherein said wireless mobile device is detectable by said
 media file is provided by the wireless mobile device.                  media system,
    21. The media system of claim 12, wherein the at least one 15 at least one digital media file initially disposed on the
 digital media file is received from a server upon instructions         wireless mobile device, said media system being struc
 provided by the wireless mobile device.                                tured to detect said wireless mobile device disposed
    22. A method of transferring a media file from a wireless           within said wireless range,
 mobile device to a media system over a communication net            a communication link structured to dispose said media
 work, the media system including a security measure, com                system and said wireless mobile device in a communi
 prising:                                                               cative relation with one another via said at least one
    disposing the media system in an accessible relation to at          interactive computer network,
       least one interactive computer network that has a wire         said communication link being initiated by said media
       less range structured to permit authorized access to said         system,
       at least one interactive computer network, wherein the 25 said wireless mobile device and media system being struc
       wireless mobile device within said wireless range,               tured to transmit said at least one digital media file
       wherein said wireless mobile device is detectable by said        therebetween via said communication link, and
       media system,                                                  said communication link is structured to bypass the Secu
    initially disposing at least one digital media file on the 30       rity measure of the media system for a limited permis
       wireless mobile device, said media system being struc             sible use of the communication link by the wireless
       tured to detect said wireless mobile device disposed             mobile device for only transferring the at least one digi
       within said wireless range,                                      tal media file to, and displaying the at least one digital
    structuring a communication link to dispose said media              media file on, the media system.
       system and said wireless mobile device in a communi 35 33. The wireless mobile device of claim 32, wherein the
       cative relation with one another via said at least one      security measure is a firewall.
       interactive computer network,                                 34. The wireless mobile device of claim 32, wherein the
    initiating said communication link by said media system,       transmission of the at least one digital media file from the
    transmitting by said wireless mobile device to the media wireless mobile device to the media system completely
       system said at least one digital media file therebetween 40 bypasses the security measure.
      via said communication link, and                                 35. The wireless mobile device of claim 32, wherein the
    wherein said communication link is structured to bypass media system is a navigation system.
       the security measure of the media system for a limited         36. The wireless mobile device of claim 32, wherein the
       permissible use of the communication link by the wire media system is an audio system.
       less mobile device for only transferring the at least one 45 37. The device of claim 32, wherein the communication
       digital media file to, and displaying the at least one link is at least one of a peer-to-peer connection, bluetooth
       digital media file on, the media system.                     connection, and a WiFi connection.
    23. The method of claim 22, wherein the security measure          38. The device of claim 32 wherein the at least one digital
 is a firewall.                                                     media file is at least one of an image file, video file, gaming
    24. The method of claim 22, wherein the transmission of 50 file, and a streaming video file.
 the at least one digital media file from the wireless mobile         39. The device of claim 32, wherein the device is config
 device to the media system completely bypasses the security ured to present the at least one digital-media file on a display.
    CaSU.                                                             40. The device of claim 32, wherein the at least one digital
    25. The method of claim 22, wherein the media system is a media file is provided by the wireless mobile device.
 navigation system.                                              55   41. The device of claim 32, wherein the at least one digital
    26. The method of claim 22, wherein the media system is media file is received from a server upon instructions pro
 an audio system.                                                   vided by the wireless mobile device.
    27. The method of claim 22, wherein the communication             42. A transfer system from transferring a media file over a
 link is at least one of a peer-to-peer connection, bluetooth communication network, comprising a media system; and a
 connection, and a WiFi connection.                              60 wireless mobile device, wherein the media system includes:
    28. The method of claim 22, wherein the at least one digital      a wireless receiver,
 media file is at least one of an image file, video file, gaming      a security measure, and
 file, and a streaming video file.                                    a processor configured to
    29. The method of claim 22, further comprising presenting         the media system disposed in an accessible relation to at
 the at least one digital media file on a display.               65      least one interactive computer network that has a wire
    30. The method of claim 22, wherein the at least one digital         less range structured to permit authorized access to said
 media file is provided by the wireless mobile device.                   at least one interactive computer network,
Case 8:21-cv-02487-VMC-JSS Document 1-1 Filed 10/22/21 Page 13 of 13 PageID 30


                                                     US 9,300,723 B2
                               11                                                                12
   the wireless mobile device within said wireless range,          43. The transfer system of claim 42, wherein the security
      wherein said wireless mobile device is detectable by said measure is a firewall.
      media system,                                                44. The transfer system of claim 42, wherein the transmis
   at least one digital media file initially disposed on the sion of the at least one digital media file from the wireless
      wireless mobile device, said media system being struc- 5 mobile device to the media system completely bypasses the
      tured to detect said wireless mobile device disposed security measure.
      within said wireless range,                                  45. The transfer system of claim 42, wherein the media
   a communication link structured to dispose said media system          is a navigation system.
      system and said wireless mobile device in a communi          46. The transfer system of claim 42, wherein the media
      cative relation with one another via said at least one 10
      interactive computer network,                              system is an audio system.
   said communication link being initiated by said media link47.isThe         system of claim 42, wherein the communication
                                                                         at least one of a peer-to-peer connection, bluetooth
      system,
   said wireless mobile device and media system being struc connection,        and a WiFi connection.
                                                                   48. The system of claim 42 wherein the at least one digital
      tured to transmit said at least one digital media file 15 media   file is at least one of an image file, video file, gaming
      therebetween via said communication link, and
   said communication link is structured to bypass the Secu file,49.andThe
                                                                          a streaming video file.
                                                                             system of claim 42, wherein the system is config
      rity measure of the media system for a limited permis ured to present       the at least one digital media file on a display.
      sible use of the communication link by the wireless          50. The   system   of claim 42, wherein the at least one digital
      mobile device for only transferring the at least one digi
      tal media file to, and displaying the at least one digital media file is provided by the wireless mobile device.
      media file on, the media system.                                                     k   k   k   k   k
